[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]     ORDER RE: DEFENDANTS GEORGE MANSON AND PATRICIA ZAJACK'S MOTION FOR SUMMARY JUDGMENT (#107) AND PLAINTIFFS' MOTION FOR SUMMARY JUDGMENT DATED OCTOBER 21, 1998
Regarding Count One:
Count One is a suit on the contract for the sale of real estate and certain covenants contained therein. As such, the six year statute of limitations found in General Statutes §52-576 (a) applies, and that six year period, under the facts of this case, begins to run from the date of the execution of the contract, which was August 23, 1998. See Bigler v. Center BankMortgage, Superior Court, judicial district of New Haven, Docket No. 348772 (February 26, 1996, Zoarski, J.). Therefore, since this action was instituted in 1998, Count One is time barred.
Accordingly, the Defendants' Motion for Summary Judgment (#107) is granted as to Count One. The Plaintiffs' Motion for Summary Judgment is denied.
Regarding Count Two:
The court finds that genuine issues of material fact exist as to justified reliance Additionally, the cause of action runs from the date of the last alleged misrepresentation, which is also a genuine issue of material fact. Accordingly, the Defendants' Motion for Summary Judgment (#107) is denied as to Count Two.
It is so ordered.
BY THE COURT:
___________________________ ELAINE GORDON, JUDGE